Case 1:11-cv-00559-WMS Document 19-89 Filed 07/26/11 Page 1 of 2bage lof 1

Jolene Jeffe

From: LennyPero@aci.com

Sent: Wednesday, June 08, 2011 2:01 PM
To: Jolene Jeffe

Subject: Public hearing

Jolene, The following Towns and Vilages support our cause and Local Law #3 You should read them
in the beginning and remind them at the end.

21 Towns of:
Alden, Amherst, Aurora, Boston, Brant, Colden, Collins, Concord, Eden, Elma, Evans, Grand Island,
Hamburg, Holland, Marifla, Newstead, North Collins, Orchard Park, Sardinia, Wales, West Seneca.

10 Villages of:
Akron, Alden, Angola, East Aurora, Farnham, Gowanda, Hamburg, North Collins, Orchard
Park, Springville

The Town of Brant & the Village of Farnham resents the fact that the legislature feels that we don’t
matter by having a plan on the table (#5) that disrespects our communities. We can not understand
how 2 plan that anyone that is non political see's as nonsense and self serving can possibly become
law. The legislators that vote for #5 are not voting for fairness and it wil show the public how inept you
are to govern. My comments are strong and they are fueled by and strengthened by a statement made
by one of your own, that of the out going legislator Dan Kozab who stated on YNN that we are a rural
farming, forested area of Erie County that would be happy to have one of our farmers represent us.
Doesn't he realize the size of the district and the impossible feat of representing 22 communities
properly. | guess he doesn't feel that the backward rural community needs to be represented by your
exclusive club.. We surely will remember who votes to slap us in the face and will be very vocal at
election time and see to it that those that support a plan that is so lopsided in representing 30
communities will not have to worry about representing anyone but themselves and will join Mr.

Kozab after November. Take notice of the communities that are fully against Local Law #5 and we will
remember in November.

Supervisor Pero

Town of Brant
For fair representation of the people, not political gain and seif

6/8/2011

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June 9, 2011

I submit this written copy, for the record, of the comments I provided at the Public
Hearing regarding Local Law #5.

Jolene M. Jeffe
Supervisor, Town of Aurora
Member of the Association of Erie County Governments

“My name is Jolene Jeffe. I am the Supervisor of the Town of Aurora. Lam here to state
my dissatisfaction with Local Law #5 concerning redistricting of Erie county.

A County Legislator’s role, whether there are 15 or 11 of them, is to serve as a liaison
between the communities of Erie County and the governing body of the County.

This means that my representative should be able to get to know my Town’s elected
officials and should have some kind of understanding of the nuances of my community, Its
strengths and weaknesses, challenges and opportunities. My county representative
should have some idea of the geography of my town and village as well as the county
roads running though them. This familiarity is necessary so they can communicate with
the County intelligently on my behalf, Most importantly, the elected officials and
residents of my town should he able to count on receiving a reasonably quick response
from the County when a question or issue is presented.

In my short tenure as Supervisor in Aurora, the current system has worked very well.

However, the mega district that is proposed in LL#S, in my opinion, would render such a
relationship impossible. It will be impossible for one person to cover 45% of the land
mass of the county from Newstead to Brant. It would be impossible for that person to
begin to have any detailed understanding of the 22 different communities in the mega
district and their specific issues. It would be impossible to build the strong relationship
between the local elected officials and our County representative that is necessary to
properly represent the people. Frankly, it would take at least one term for a Legislator to
be able to cover his/her territory without GPS!!

It is for these reasons that I oppose LL#5 and the redistricting map it outlines. I must
also go on the record to state that although LL#3 avoids the mega district, it too has
drawbacks specifically being that a few communities, such as Hamburg and Lancaster,
will be divided into at least 2 or even 3 districts.

I encourage you to strongly consider developing a pian that keeps communities whole
when at all possible, provides a better balance of both population and land area and that
attempts to keep communities who regularly cooperate in the same district. Second best,
if that is what must be settled on due sadly to time constraints, would be to adopt LL#3
and its map. The residents of this county deserve fair representation and the elected
officials deserve reasonable accessibility to our county leaders. Thank you.”

re 1: 11- A Per0 -WMS PRA 89 Filed 07/26/11 Page 3 of 21

Speech at it Wn Conference in re: to redistricting June 7, 2011 given by the President of the
Association of Erie County Governments — Leonard K. Pero Supervisor of the Town of Brant

Reports and rumor has it, that Legislator Christine Bovee who I believe is very fair
as I witnessed at our Association of Erie County Gov. meeting in Orchard Park this
past winter. She happens to be the swing vote in one of the most important
redistricting local laws #3 & #5 that this group of law makers, known as the Erie
County legislators have before them. Her vote I am told will either bring about
fairness or total disregard for over 60% of the communities in Erie County. The
rural communities will suffer the most bringing 1 representative to over 20
communities where 4 are now serving.

I do hope and pray that she votes for fairness and not political gain. To all of the
legislators that may have 2° thoughts, I do hope that you see that local law #5 with
a district with over 45% of the land mass of Erie County is just not acceptable and
I hope that you join in with Legislator Bovee and vote to give us a voice in Erie
County Government with local law #3.

You can vote for fairness or for the most misrepresented districts in Erie County
history. Breaking up community unity among neighboring towns by splitting up
these communities that have worked together like brothers & sisters for years is a
tragedy. For example: Elma, Wales & Marilla share the same recreation facilities
and programs. They share the same school district & Fire dispatch. Brant & Evans
have been tied together at the hip from the very beginning of the creations of these
towns; they also share the same school district, police & fire dispatch, a State Park
and roads. There are so many others such as Eden and North Collins, Newstead
and Clarence to mention a few. Putting Orchard Park in a district that stretches’
into Buffalo is very political and will hurt the Orchard Park community from
having a legislator that will give them the attention that they deserve.

To all of the 15 legislators when you vote on something as important as
representation which is the Core & Heart of what America stands for. Please
remember this is not for political gain, but for representing all of the people of Erie
County in the fairest way possible.

Legislators you should remember this day June 7, 2011 where _21__ communities
have come together to voice their opinion on fairness for everyone. Unfortunately
there are only 2 local laws that are on the table to choose from, with one that is so
lopsided and slanted in the fact that the districts are so un- uniform in population

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Speech at Elma Press Conference in re: to redistricting June 7, 2011 given by the President of the
Association of Erie County Governments ~ Leonard K. Pero Supervisor of the Town of Brant

that it smells of corruption and a district that slaps the faces of 22 communities
with no representation. In plan #5 there are unbalanced districts with swings of
5,000 & 3,000 people - in #3 the largest difference is 28 people, with only a .001%
deviation in population between the 11 districts. We have to also remember that
Federal law must be followed, and district population should reflect the Federal
principle of “One man, One vote.” The fairest way to achieve that is having each
legislator represent the same number of people. Since that is near impossible,
because populations change daily, the districts should be as close as possible in
population. In # 5 there is a mega district that consists of 45 to 50% of the land
mass of Erie County making it virtually impossible for one legislator to properly
represent. These 2 examples are just 2 reasons that #5 is not fair and shatters the
concept of one person one vote. (It would take a legislator 2 years to go to one
board meeting per month in this mega district and his or her term would be up.)
Ridiculous! Enough is enough. What are you trying to do to the people of Erie
County? If you are successful in total disregard for residents of this county, what
else are you going to do to the people? Did you forget that this is not about you,
you were elected to bring about fair representation, and do you think that local law
#5 is fair? Neither plan is really fair, many towns would like to keep their
communities whole and both plans are political and are being used to shift the
balance of power in favor of one or the other. We really don’t have a choice but
these two plans. The plans presented by the legislature was suppose to be non
political and neither plans does that.

Unfortunately, if this local law #5 passes, it will open many eyes and be the
catalyst that will open Pandora’s box and bring about the wrath of 90% of the
Supervisors & Mayors, (and yes Democrats & Republicans that do work together
and stand together in solidarity) this will bring an end to legislative government as
we now know it. We will petition and force a referendum vote to return to a board
of Supervisors & Mayors which will bring about a fairer represented government
for Erie County. As one supervisor said, and not from the mega district. We do
have another plan on the table, it is to re-establish a board of supervisors & stream
line our county government process. Do you know that 23 Supervisors & 10
mayors have contacted me so far and support this form of government for the
people 100%. The choice is yours, the ball is in your hands and we are getting
ready to play.

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Jolene Jeffe

From: Dave Cummings [dcummings@townofnewstead.com}
Sent: Wednesday, June 08, 2011 10:30 AM

To: Jolene Jeffe

Subject: Comments for the public Hearing

| apologize and regret that I can not be at the public hearing to voice my opinion in person. lam
opposed to the redistricting local laws # 3 and # 5. It is my opinion these laws were drafted with politics
the issue, not fairness of the people. The law i’m opposed most to is local law # 5. Lagree with most of
the other Supervisors and Mayors that the major issue is the J district , as | call it. The district from the
Town of Brant to the Town of Newstead. The “j’ district as | call it, is shaped like a “ j” and that is
appropriate as | feel it is a Joke. In local law # 5, one representative for over 40-45 % of the county land
mass and over 20 communities is not using common sense in representing the people of Erie County
properly. How can you seriously think the people of Erie County feel you are thinking of what is best for
them and not what you want politically. Once again, the legislature has failed the people they represent.
The plans presented by the Legislature were suppose to be non political and neither plan does that.

David L. Cummings
Supervisor - Town of Newstead
PO Box 227
Akron, New York 14001

Ph 716-542-1231 cell - 716-574-9435
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6/8/2011
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Jolene Jeffe

From: Gary Eppolito [concordsupervisor@gmail.com]

Sent: Wednesday, June 08, 2011 11:54 AM

To: Jolene Jeffe

Subject: Redistricting Proposal

When the voters decided to downsize the county legislature I knew the Town of Concord would
not be receiving the same attention it has enjoyed for many years. However,Proposal #5 placing
thirteen towns and six villages into a single district is unconscionable. Concord is the largest
town in Erie County in terms of geographic area and it contains probably the largest number of
county roads of any town in the county. We also are home to two county parks---Sprague Brook
and the Scobey Hill Dam Park. We are also plagued by sliding soils and soil erosion problems in
many areas of the town--areas that are county responsibility--and Concord is only one town out
of thirteen in this proposal. 1 am not convinced a single legislator can begin to represent area
this large. Essentially, we are going from excellent representation in county government to Ittle
or no representation.

I have never favored a return to a Board of Supervisors. However, if this is the avenue our
legislators choose to take, I firmly believe it's time to revisit that form of government. At least
Concord would have SOME representation.

Legislators----It's time to put politics aside. I realize there is no perfect plan, but option #5
essentially disenfranchises over half the county's towns and approximately half its villages. In
my thinking, this is politics at its worst. You can do better.

Sincerely,

Gary A. Eppolito/Supervisor Town of Concord

Gary Eppolito
Town of Concord Supervisor
716-592-4946

6/8/2011

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Jolene Jeffe

From: LennyPero@aol.com

Sent: Wednesday, June 08, 2011 2:01 PM
To: Jolene Jeffe

Subject: Public hearing

Dblene The following Towns and Villages support our cause and Local Law #3 You should read them
ihe beginning and remind them atthé end. en

21 7 wns of: evans Gand island
AldenAmherst, Aurora, Bo , Brant, Coiden, Collins, Concord, Eden, Eima, Vans, Grand Island,
Hamburg, Holland, Marilla, News orth Collins; Orchard Park, Sardinia, Wales, West Seneca.

Cc

\ 10 Villages of:
\. Akron, Alden, A ; Aurora, Far —Gowanda, Hamburg, North Collins, Orchard
\ ark,Sprin ifle

| The Town of Brant & the Village of Farnham resents the fact that the legislature feels that we don't
matter by having a plan on the table (#5) that disrespects our communities. We can not understand
how a plan that anyone that is non political see's as nonsense and self serving can possibly become
law. The legislators that vote for #5 are not voting for fairness and it wll show the public how inept you
are to govern. My comments are strong and they are fueled by and strengthened by a statement made
by one of your own, that of the out going legislator Dan Kozab who stated on YNN that we are a rural
farming, forested area of Erie County that would be happy to have one of our farmers represent us.
Doesn't he realize the size of the district and the impossible feat of representing 22 communities
properly. | guess he doesn't feel that the backward rural community needs to be represented by your
exclusive club.. We surely will remember who votes to slap us in the face and will be very vocal at
election time and see to it that those that support a plan that is so lopsided in representing 30
communities wil! not have to worry about representing anyone but themselves and will join Mr.
Kozab after November. Take notice of the communities that are fully against Local Law #5 and we will

remember in November.
upervi

Town of Brant
For fair representation of the people, not political gain and self

6/8/2011

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; TOWN ofr MARILLA

S-1740 TWO ROD ROAD
MARILLA, NEW YORK 14102

(716) 652-5350
FAX: (716) 652-2541

June 8, 2011

Erie County Legislature
92 Franklin St 4" Floor
Buffalo, New York 14202

As the Supervisor of the Town of Marilla, I must object to current Local Law #5 for Ene
County Legislature Re-Districting. This proposal includes one district that covers more than 45%
of the land mass of Erie County. That is not acceptable. Such a district would be unmanageable
for a single legislator. The proposal also splits up localities that have developed many
productive, cooperative arrangements. I would ask the Legislators to put aside their political
differences and vote for a solution that gives fair and equitable representation to all residents of
Erie County. Please remember that the redistricting is not for political gain, but for representing
all of the people of Erie County in the fairest way possible.

Thank/You /
Ae »)
JI
if
George J Gertz
Supervisor

“This institution is an equal opportunity provider, and employer”
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Jolene Jeffe

From: Lisa Greiner flisagreiner@edenny.gov]
Sent: Wednesday, June 08, 2011 10:10 AM

To: Jolene Jeffe
Subject: Re: Redistricting
TO: Erie County Legislature

FROM: Glenn R. Nellis, Supervisor - Town of Eden

While Eden is not included in the ill thought out proposed "rural district" that would stretch from
Newstead to Brant, I can not help to express a certain outrage that the County Legislature would
even consider such a district. Logistically, it will be very difficult, if not impossible, for a
legislator to serve his/her constituents. Additionally, the various towns often have closer
working relationships with nearby municipalities with which they share common problems.

While both proposed plans #3 and #5 have many flaws, I would suggest Plan #3 has fewer and
would eliminate that stretched out "rural district" which many of us consider nothing more than a

legislative slap in the face.

Lisa J. Greiner
Administrative Assistant
2795 East Church Street
Eden, New York

14057-0156
Tel: 716-992-3408
Fax: 716-992-4131

x Signature

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TOWN OF AMHERST

BARRY A. WEINSTEIN, M.D.
SUPERVISOR

June 2, 2011.

Supervisor Leonard Pero
Town of Brant

1294 Brant-North Collins Road
PO Box 254

Brant, NY 14027

Dear Supervisor Pero:

I am opposed to the Democratic reapportionment proposal. It treats Amherst unfairly. It splinters
the minority community. It violates the spirit of one person, one vote. Lumping 13 towns and a
huge land mass into one district is not a reasonable approach to representative government. If it is
approved by the Legislature, ] would encourage a County Executive veto. (

Sincerely,

Poey

Barry A. Weinstein, M.D.
Supervisor

BAW/sv

Amherst Municipal Building §583 Main St Williamsville, NY 14221 Phone: 716.631.7032 Fax: 716.631.7146
Website: www.amhersiny.us Keyword: superviser -

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ag

Jolene Jeffe

elofl

From: Colleen Rogers [aldensuper@yahoo.com]
Sent: Wednesday, June 08, 2011 10:30 AM

To: Jolene Jeffe

Ce: LennyPero@aol.com
Subject: Public hearing comments
Jolene:

Please read the following at the public hearing

Thanks
Ron Smith
Town of Alden

As Supervisor of one of the smaller Towns in the County of Erie, | often feel that the attention and
resources of the County are directed towards the larger cities and towns and what ever is left over is
given to the communities such as Alden. We must fight to maintain the services we receive such as our
library and Sheriff road patrols.

The proposal for redistricting seems to be another example of giving the small towns and vilages the
crumbs that might fall off the County dinner table. Divide up the county beginning in the City of Buffalo
and let's put all that are left over in a mega district that covers almost half the land mass in the County
and runs from the Northeast corner of the County to the Southwest corner.

It is illogical to expect one legislator to properly represent such an area. Only government could come up
with such a plan and expect that it will give the residents of that district the voice that they deserve and

pay for with their County taxes.
On behalf of the residents of Alden and all the residents of Erie County of this proposed mega-district |

urge you to

6/8/2011
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Jolene Jeffe

From: Janis Colarusso [opsupervisor@orchardparkny.arg]
Sent: Tuesday, June 07, 2011 4:43 PM

To: Jolene Jeffe

Subject: Legislator Re-districting

To the Legislative Body;

For the record...

| am disappointed in the manner this project has taken, and believe the committee’s
(non-political) recommendation for legislative redistricting was snuffed.

if the legislators do not choose proposition #3 it show no support for the individuals
who took their time to dig deep to come up with a plan.

This is the only plan that district population is reflected, which is a law.

The people voted for the downsizing, the people of Erie County should have a voice.

Janis Colarusso
Supervisor of Orchard Park

6/8/2011
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From: Wallace Piotrowski [mailto:WPiotrowski@TWSNY.ORG]
Sent: Wednesday, June 08, 2011 11:18 AM

To: Jolene Jeffe

Subject: RE: Don't forget Supervisor meting today 10:30 am

With our only choice between Local Law 5 and Local Law 3, | favor Local Law 3. For ail Erie
County residents Local Law 3 is the fairest. Wallace C. Piotrowski, Town of West Seneca

Supervisor

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Town of Sardinia Supervisor:
Councilmen:
12320 Savage Road
PO. Box 219
Sardinia, NY 14134
Tel. (716) 496-8908 Town Clerk:
Fax (716) 496-8917 Hwy. Supt:

Mary L. Hannon
Cheryl L. Eari

Daniel L. Miller
David L. Montgomery
Norman J. Uhteg
Betsy A. Marsh
Donald W. Hopkins

June 8, 2011

Erie County Legisiature
92 Franklin Street
Buffalo, NY 14202

Dear Honorable Members:

As the Supervisor of the Town of Sardinia, I respectfully request that you vote down the re-districting plan
that has come before you. You certainly have been made aware of the unfair representation this will cause, and I

urge you to stop playing politics and work for the betterment of this community.

Your agreement to this Law would only justify going back to a Board of Supervisors to bring fairness
back into the equation. Consider the citizens of this County with your actions. Go back to the drawing board and

come up with a plan that benefits all.
Thank you for your time and consideration.

Sincerely,

Mary L. Hannon
Supervisor

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TOWN OF HAMBORG

6100 SOUTH PARK AVENUE * HAMBURG, NEW YORK 14075 * (716) 649-6111 * FAX (716) 649-4087

Supervisor Town Attorney

STEVEN J. WALTERS KENNETH J. FARRELL
Town Clerk

Councilmen CATHERINE A. RYBCZYNSKI

Amy J. Ziegler, Deputy Supervisor

Joseph A. Collins . Supt. of Highways

Jonathan G. Gorman THOMAS M. BEST, SR.

Jime 9, 2011

Dear Members of the Erie County Legislature,

As I am unable to personally attend today’s public hearing regarding the redistricting
proposals, please aliow this letter to serve as my official comment as Hamburg Town
Supervisor regarding Local Law #5.

Iam greatly troubled by the creation of a district that covers roughly forty five percent
of the county’s land area. To be an effective representative, one must have a presence
in the district they serve. A district this large will undoubtedly be unmanageable for
the Legislator. As noted by others, it would nearly take the Legislator’s entire term
for him to attend a board meeting in every community in this district if that Legislator
went to one meeting per month.

I am also concerned about the connections being made with various towns and the
cities. As you are all well aware, town concerns are quite different from city concerns
(for example, county roads are only directly affect towns and villages). As such, the
melding of districts should be limited, not expanded, especially in such bizarre and
nonsensical ways.

Finally, tt appears the overall proposal will substantially dilute the representation of
the towns, particularly rural towns. Please reconsider the proposal to take into greater
account the unique needs of the towns and villages as well as the need for a legislator
to have to regularly traverse his district.

Thank you for taking into account these comments.

ok

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6k os ~~
even J. Waiters

Supervisor

‘it's Great Living in Hamburg... The Town That Friendship Built”
www. townofhamburgny.com

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From: Town Supervisor [mailto:supervisor@elmanewyork.com] i
Sent: Thursday, June 09, 2011 10:20 AM
To: Jolene Jeffe

Subject: reapportionment of legislative districts

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Erie County Legislature — Elma is opposed to Local Law Int.5-1 (2011). This is NOT an
acceptable solution. It would split Elma from Marilla & Wales. These Tri-Towns (Elma — Marilla —
Wales) have shared facilities and services for over 50 years. These three (3) towns are in the
Iroquois Central School District and also Tri-Town Recreation, EMW Sports (baseball, football, &
soccer) and EMW Boys & Girls Club. It would also split Elma from Aurora, a own that we share
highway services with. Furthermore, there is no possible way one legislature would be able to
properly serve his/her constituents in this mega district with over 45% of the land mass of Erie
County. Elma would support the original Local Law 3 (2001) proposed by Barbara Miller-
Willams. i

Dennis M. Powers
Eima Town Supervisor
Office 652-3260

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Jolene Jeffe

From: Annie Hoffman [hoffmana@marranohomes.com]
Sent: Thursday, June 09, 2011 12:20 PM

To: Jolene Jeffe

Subject: Colden statement for Public Hearing

Thanks Joleen - let me know if this is ok.

Annie

As our Town is about to learn — downsizing is not always the best answer. | have been very
satisfied with the fact that when | call on our legislative representative, he is there within days
to inspect and address my concerns. | expect to be able to reach my legislator at any given
time and | expect them to be familiar with me and any area of concern | may be calling about. |
do not believe that a single legislator can properly represent the residents in Colden with the
redistricting being proposed. Proposal #5 is placing thirteen towns and six villages into a single
district — Colden will be going from excellent representation in county government to Ittle or
no representation. In the past Towns were represented by a Board of Supervisors. If our
legislators cannot put aside the politics that has created this unconscionable proposal, maybe it
is time to re-visit previous forms of government. You were elected by Colden residents
because they had faith in you to represent their needs. Set aside the political games and do
what you were elected to do.

Annie Hoffman

Colden Supervisor

6/9/2011

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sour of Wate,

Town of Wales

To: Members of the Erie County Legislature
From: Rickey A. Venditti, Supervisor, Town of Wales

Subject: Erie County Legislature Local Law Int. 5-1 (2011)

Honorable members,

I ask you to please not pass Local Law Int. 5-1 (2011) which creates a rural district that
consists of 45 to 50% of the land mass of Erie County making it virtually impossible for one
legislator to properly represent our residents. Our rural communities will suffer due to this
local law for redistricting will bring 1 representative to over 20 communities where 4 are
currently serving.

This proposed local law will alienate the unity among neighboring towns by splitting up
communities that have successfully worked together for years. As an example, the Towns of
Elma, Marilla & Wales worked together and have shared the same recreation facilities and
programs for many years. They also share the same school district & Fire dispatch services.
This proposed redistricting will not give our communities a single legislator that will be able
to give our issues the attention that they deserve.

I again, ask all of the 15 legislators when you vote on something as important as our
representation in the Erie County Legislature, please remember to provide our residents
representation in the most fair and equal manner possible. Our representation will not be fair
and equal if you pass Local Law Int. 5-1 (2011).

Thank you for your consideration in this matter.

Respectfully,

Rickey A. Venditti
Supervisor, Town of Wales

12345 Big Tree Road, P.O. Box 264, Wales Center, New York 14169-0264 (716)-652-0589

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June 9, 2011

Submitted from Supervisor Francis J. Pordum, Town of Evans

The task before the Legislature to approve a plan for
reapportionment is one that I do not relish.
Reapportionment by itself is difficult, but to also be
faced with downsizing from fifteen to eleven members
just adds to the problem to obtain a meaningful plan.

As Supervisor of the Town of Evans, my community has
its own concerns with the plans being considered. We
in the Southtowns have established varying
relationships with our neighboring towns to cut costs
and present unified plans for moving forward. The
Town of Evans, Brant, Eden and North Collins have
shared responsibilities. From shared school districts,
assessment services, tourism promotion, and rural
transit to name a few, we have worked together in the
past and would prefer that we were included in the
same Southtowns District when the final plan is
approved.

Thank you for your consideration.

Fran

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Jolene M. Jeffe
Supervisor

Town of Aurora

5 South Grove Sireet
East Aurora, NY 14052
716-652-7590

From: Robert Giza [mailto:robertgiza@lancasterny.com]
Sent: Wednesday, June 08, 2011 12:52 PM

To: Jolene Jeffe

Subject: RE: Update

Dear Jolene,

The Town of Lancaster would like to be kept whole, not divided in any way. Thank you
and good luck!

Bob Giza, Supervisor
Town of Lancaster
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Jolene M. Jeffe
Supervisor

Town of Aurora

5 South Grove Street
East Aurora, NY 14052
7 416-652-7590

From: LennyPero@aol.com [mailto:LennyPero@aol.com]

Sent: Wednesday, June 08, 2011 2:02 PM

To: Jolene Jeffe

Subject: Fwd: EC Legislature Public Hearing Notification - Local Law Intro 5-1 (2011)

From: aldensuper@yahoo.com

To: LennyPero@aol.com

Sent: 6/8/2011 10:08:37 A.M. Eastern Daylight Time

Subj: Re: EC Legislature Public Hearing Notification - Local Law Intro 5-1 (2011)

Lenny:

The Town of Alden is strongly opposed to the proposal for redistricting involving a
mega-district from Newstead to Brant

Ron Smith
Town of Alden
Supervisor

--- On Wed, 6/8/11, LennyPero@aol.com <LennyPero@aol.com> wrote:

